               Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 1 of 8




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 HELEN L. GILBERT (NYBN 4736336)
   LAURA VARTAIN HORN (CABN 258485)
 5 Assistant United States Attorney

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7200
             FAX: (415) 436-7234
 8           Email: Helen.Gilbert@usdoj.gov
                    Laura.Vartain@usdoj.gov
 9
     Attorneys for United States of America
10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        ) CASE NO. 3:22-CR-426-JSC
                                                      )
15           Plaintiff,                               ) JOINT CERTIFICATION OF COUNSEL RE:
                                                      ) ADMITTED TRIAL EXHIBITS
16      v.                                            )
                                                      )
17   DAVID WAYNE DEPAPE,                              )
                                                      )
18           Defendant.                               )
                                                      )
19

20           The United States and defendant David DePape, by their respective undersigned counsel, file this
21 Joint Certification of Counsel providing that the following exhibits, filed as “Admitted Exhibits”

22 pursuant to Northern District of California Criminal Local Rule 55-1, which incorporates Northern

23 District of California Civil Local Rule 5-1(g) and 79-4(a) and (b), are true and correct copies of the

24 exhibits submitted to the trier of fact. Pursuant to N.D. Cal. Civil L.R. 5-1(g)(3), photographs of

25 physical admitted exhibits, with redactions as necessary, are being filed electronically. The following

26 chart of admitted exhibits notes exhibits that are being manually filed; filed with redactions on ECF and

27 without redactions under seal; and/or those that one or both parties seek leave to file under seal:

28
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           1
             Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 2 of 8




 1      Trial
        Exhibit                          Description                            Filing status
 2
        Number
 3      1          911 Call                                                  Manual
        2          SFPD Off. Willmes body worn camera video excerpt          Manual
 4
        3          SFPD Off. Cagney body worn camera video excerpt           Manual
 5      4          SFPD Off. Najarro body worn camera video excerpt 1        Manual
        5          SFPD Interview of Depape excerpt 1                        Manual
 6
        6          SFPD Interview of Depape excerpt 2                        Manual
 7      7          SFPD Interview of Depape excerpt 3                        Manual
 8      8          SFPD Interview of Depape excerpt 4                        Manual
        10         Excerpt of Depape call to KTVU                            Manual
 9      11         Summary Exhibit: BART and Muni Video with Map             Manual
10      12         BART videos                                               Manual
        13         MUNI videos                                               Manual
11                 Summary Exhibit: U.S.Capitol Police Video Footage of
        14                                                                   Under seal
12                 Victims' Home Exterior
        15         USCP CCTV Camera 101                                      Under seal
13      16         USCP CCTV Camera 102                                      Under seal
14      17         USCP CCTV Camera 103                                      Under seal
        18         USCP CCTV Camera 104                                      Under seal
15      19         USCP CCTV Camera 105                                      Under seal
16      20         USCP CCTV Camera 106                                      Under seal
        26         Pelosi Residence and Surrounding Area                     Under seal
17
        27         Pelosi Residence - Ground Floor v.1                       Under seal
18      28         Pelosi Residence - Third Floor                            Under seal
        30         Crime Scene Photograph: Mr. Pelosi 2                      Under seal
19
        33         Crime Scene Photograph: Officers with Mr. Pelosi          Under seal
20      38         Crime Scene Photograph: Bags on patio dark 2              ECF
        42         Crime Scene Photograph: Exterior of home 2                ECF
21
        43         Crime Scene Photograph: Exterior of home 3                ECF
22      59         Crime Scene Photograph: Exterior of home patio 9          ECF
        61         Crime Scene Photograph: Exterior of home broken glass 2   ECF
23
        75         Crime Scene Photograph: Foyer                             Under seal
24      76         Crime Scene Photograph: Foyer Items 1                     Under seal
        78         Crime Scene Photograph: Foyer Items 3                     Under seal
25
        79         Crime Scene Photograph: Foyer Items 4                     Under seal
26      84         Crime Scene Photograph: Markers 1, 2, and 3               Under seal
        89         Crime Scene Photograph: Hammer 2                          Under seal
27
        90         Crime Scene Photograph: Hammer 3                          ECF
28      95         Crime Scene Photograph: Entry Room 3                      Under seal
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           2
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 3 of 8




 1      Trial
        Exhibit                          Description                              Filing status
 2
        Number
 3      96         Crime Scene Photograph: Entry Room Glass 1                  ECF
        104        Crime Scene Photograph: Stairs from third floor down        Under seal
 4
        106        Crime Scene Photograph: Third floor 2                       Under seal
 5      107        Crime Scene Photograph: Elevator                            Under seal
        109        Crime Scene Photograph: Bedroom pillows and glove 1         Under seal
 6
                   Crime Scene Photograph: Bedroom pillows, glove, and
        110                                                                    ECF
 7                 zipties
        115        Crime Scene Photograph: Bedroom pillows and rope            ECF
 8
        116        Crime Scene Photograph: Bed 1                               Under seal
 9      117        Crime Scene Photograph: Bed 2                               Under seal
        118        Crime Scene Photograph: Bed 3                               Under seal
10
        119        Crime Scene Photograph: Closet 1                            Under seal
11      123        Crime Scene Photograph: Bathroom 2                          Under seal
        124        Crime Scene Photograph: Two bags and sleeping bag           ECF
12
        125        Crime Scene Photograph: Sleeping bag                        ECF
13      126        Crime Scene Photograph: Small backpack full                 ECF
        127        Crime Scene Photograph: Small backpack items 1              ECF
14
        132        Crime Scene Photograph: Large backpack 1                    ECF
15                 Crime Scene Photograph: Large backpack main
        135                                                                    ECF
                   compartment
16                 Crime Scene Photograph: Large backpack misc 1 (drink
        146                                                                    ECF
17                 mixes, etc.)
                   Crime Scene Photograph: Large backpack misc 2 (duct tape,
18      148                                                                    ECF
                   etc.)
19      151        Crime Scene Photograph: Large backpack hard drives          ECF
        160        Hammer (physical evidence)                                  ECF
20      161        Zipties package, multi color (physical evidence)            ECF
21      162        Ziptie (single) (physical evidence)                         ECF
        163        Ziptie (single) (physical evidence)                         ECF
22
        164        Plastic cup (physical evidence)                             ECF
23      165        $16 in cash (physical evidence)                             ECF
        166        BART card 1 (physical evidence)                             ECF
24
        167        BART card 2 (physical evidence)                             ECF
25      168        Muni card (physical evidence)                               ECF
        169        Slip of paper (physical evidence)                           ECF
26
        170        Piece of paper (physical evidence)                          ECF - redacted
27      171        Rope (physical evidence)                                    ECF
        172        Single glove (physical evidence)                            ECF
28
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           3
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 4 of 8




 1      Trial
        Exhibit                            Description                        Filing status
 2
        Number
 3      173        Zipties package, clear (physical evidence)              ECF
        174        Sleeping bag in stuff sack (physical evidence)          ECF
 4
        175        Toothpaste (physical evidence)                          ECF
 5      176        Battery pack, white (physical evidence)                 ECF
        177        Large backpack (physical evidence)                      ECF
 6
        178        $9,126 in cash (physical evidence)                      ECF
 7      179        Hammer, yellow handle (physical evidence)               ECF
 8      180        Duct tape (physical evidence)                           ECF
        181        Package of zipties 1 (physical evidence)                ECF
 9      182        Package of zipties 2 (physical evidence)                ECF
10      183        Package of zipties 3 (physical evidence)                ECF
        184        Plastic bag (physical evidence)                         ECF
11      185        Birth certificate (physical evidence)                   ECF - redacted
12      186        Social security card (physical evidence)                ECF - redacted
        187        Passport (physical evidence)                            ECF
13      188        Two drivers' licenses (physical evidence)               ECF - redacted
14      189        California Benefits ID card (physical evidence)         ECF - redacted
        190        Wells Fargo ATM card (physical evidence)                ECF - redacted
15      191        Paypal debit card (physical evidence)                   ECF
16      192        SD reader (physical evidence)                           ECF
        193        Two bank envelopes (physical evidence)                  ECF
17
        194        Scissors (physical evidence)                            ECF
18      195        Floss (physical evidence)                               ECF
        196        Toothbrush (physical evidence)                          ECF
19
        197        Batteries (physical evidence)                           ECF
20      198        Battery charger (physical evidence)                     ECF
        199        Misc. electronics' accessories (physical evidence)      ECF
21
        200        Matches (physical evidence)                             ECF
22      201        Wyler's light single drink mixes (physical evidence)    ECF
        202        Body camera user manual (physical evidence)             ECF
23
        203        Purple gloves (physical evidence)                       ECF
24      204        Facemask (physical evidence)                            ECF
        205        Two bottles of liquid (physical evidence)               ECF
25
        206        2 costumes (physical evidence)                          ECF
26      207        3 solar chargers (physical evidence)                    ECF
        208        Nintendo switch (physical evidence)                     ECF
27
                   Various electronic chargers and cables Item (physical
        209                                                                ECF
28                 evidence)
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           4
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 5 of 8




 1      Trial
        Exhibit                          Description                           Filing status
 2
        Number
 3      210        Camping light (physical evidence)                         ECF
        211        Crayons (physical evidence)                               ECF
 4
        212        Book (physical evidence)                                  ECF
 5      213        Drinking glass (physical evidence)                        ECF
        214        Battery charger (physical evidence)                       ECF
 6
        215        Thumb drive reader (physical evidence)                    ECF
 7      216        4 pairs of socks (physical evidence)                      ECF
 8      217        2 pairs of shorts (physical evidence)                     ECF
        218        7 pairs of boxer briefs (physical evidence)               ECF
 9      219        Greens 8 in 1 supplement (physical evidence)              ECF
10      220        Beef sticks (physical evidence)                           ECF
        221        Vitamins (physical evidence)                              ECF
11      222        2 jars glucosamine (physical evidence)                    ECF
12      223        Watermelon lemonade (physical evidence)                   ECF
        224        Goji berries (physical evidence)                          ECF
13      225        Pencil (physical evidence)                                ECF
14      226        Single glove (physical evidence)                          ECF
        227        Gloves label (physical evidence)                          ECF
15      228        Teclast tablet (physical evidence)                        ECF
16                 SanDisk SD Card; SN: BH1128416132D; 4GB (physical
        229                                                                  ECF
                   evidence)
17      230        Samsung Galaxy S7 (physical evidence)                     ECF
18      231        Body worn camera, no manufacturer (physical evidence)     ECF
        232        Boblov body worn camera (physical evidence)               ECF
19
        233        Body worn camera instruction manual (physical evidence)   ECF
20                 Generic USB Flash Drive; SN: none; 1TB (physical
        234                                                                  ECF
                   evidence)
21
                   Western Digital 3.5” SATA HDD; Model: WD10EZEX;
        235                                                                  ECF
22                 SN: WCC6Y1SKV3S6; 1TB (physical evidence)
                   Western Digital 2.5" SATA HDD; Model: WD10SPZX-24;
23      236                                                                  ECF
                   SN: WXS1A68K4047; 1TB (physical evidence)
24                 Dell Laptop Model: Latitude E6540; SN: 5XOY942, with
        237                                                                  ECF
                   power cord and case (physical evidence)
25
        240        Depape Residence Photograph: Interior computers 1         ECF
26      241        Depape Residence Photograph: Interior chair etc.          ECF
        242        Depape Residence Photograph: Interior cushions            ECF
27
        243        Depape Residence Photograph: Interior computers 2         ECF
28      244        Depape Residence Photograph: Interior computers marked    ECF
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           5
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 6 of 8




 1      Trial
        Exhibit                           Description                          Filing status
 2
        Number
 3      247        Depape Residence Photograph: Markers 9, 13 & 14          ECF
        248        Depape Residence Photograph: Marker 9 zipties in place   ECF
 4
        250        Depape Residence Photograph: Markers 7 & 11              ECF
 5      268        Wells Fargo receipt (physical evidence)                  ECF
 6                 iBuyPower; Model: iSeries A303A655012520; SN: 2216-
        269                                                                 ECF
                   59B9-3082-DD65-2 (physical evidence)
 7                 APacer 2.5" SATA SSD; Model: Panther; SN:
        270                                                                 ECF
                   142002113178; 240GB (physical evidence)
 8
        271        Firefox Bookmarks                                        ECF
 9      274        Firefox Web History                                      ECF - redacted
10      276        Google Maps Queries                                      ECF - redacted
        277        Google Searches                                          ECF - redacted
11      278        Image - broadway 2019.JPG                                ECF
12      279        Image - broadway.JPG                                     ECF - redacted
        280        Image - 01 (1).JPG                                       ECF
13      281        Image - pelosivigilmar1207_8.jpg                         ECF - redacted
14      282        Image - 33163248-8730937-image-a-2_1600090811088.jpg     ECF
                   Image - 37501178-9105277-image-a-
15      284                                                                 ECF
                   82_1609539332899.jpg
16      285        Image - Eqs0Zq2XIAUp9MB.jpeg                             ECF
                   Image - 813c7af4-6d5a-42bb-89b1-
17      286                                                                 ECF
                   60f38f9aa4ce_1140x641.jpg
18      287        Image - 37503978-0-image-a-3_1609550789355.jpg           ECF - redacted
                   Image - 2411bfb6-4ea3-4d10-b8ef-
19      288                                                                 ECF
                   341464286bb9_1140x641.png
20      290        Image - nancy-pelosi.webp                                ECF
        291        Text document - New Text Document.txt                    ECF - redacted
21      292        AD Lab Report, Bookmark: Pelosi Information              ECF
22      293        Spokeo records                                           ECF - redacted

23      295        Amazon records                                           Manual - redacted

24                 Official List of Members of the U.S. House of
        297                                                                 ECF
                   Representatives, 117th Congress
25
        298        Photograph from medical records 1                        Under seal
26

27      305        Photograph from medical records 8                        Under seal

28
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           6
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 7 of 8




 1      Trial
        Exhibit                          Description                                 Filing status
 2
        Number
 3
        310        Photograph from medical records 13                             Under seal
 4
        314        SFPD Off. Najarro body worn camera video excerpt 2             Manual
 5      315        SFPD Off. Najarro body worn camera video excerpt 3             Under seal
        316        SFPD Dispatch Audio                                            Manual
 6
        320        Small backpack (physical evidence)                             ECF
 7      321        SFPD Off. Najarro body worn camera video excerpt 4             Under seal
 8      322        Aerial view of Pelosi home                                     Under seal
        500        Frenlyfrens Blog                                               ECF - redacted
 9      511        Pelosi schedule                                                ECF
10      569        Photo Pelosi's bedroom                                         Under seal
        579        Article from DePape search                                     ECF
11      592        RCFL report Tom Hanks                                          ECF
12      593        RCFL report Target 1                                           ECF - redacted
        595        Congresswoman Pelosi's website                                 ECF
13

14

15 DATED: December 8, 2023                              Respectfully Submitted,
16
                                                        ISMAIL J. RAMSEY
17
                                                        United States Attorney
18
19
                                                        __/s/___________________________________
20                                                      HELEN L. GILBERT
                                                        LAURA VARTAIN HORN
21                                                      Assistant United States Attorneys
22

23                                                      JODI LINKER
24                                                      Federal Public Defender

25
                                                        __/s/___________________________________
26                                                      ANGELA CHUANG
                                                        Assistant Federal Public Defender
27                                                      Counsel for Defendant David DePape
28
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           7
              Case 3:22-cr-00426-JSC Document 192 Filed 12/08/23 Page 8 of 8




 1

 2

 3                                               Attestation of Filer
 4          In addition to myself, the other signatories to this document are Jodi Linker and Angela Chuang.
 5 I attest that I have their permission to enter a conformed signature on their behalf and to file this

 6 document.

 7

 8 DATED: December 8, 2023                                               /s/                    ___
                                                                  HELEN L. GILBERT
 9                                                                Assistant United States Attorney
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     JT CERTIFICATION OF COUNSEL RE: ADMITTED EXHIBITS
     3:22-CR-426-JSC                           8
